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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

 JANE DOE et al.,

        Plaintiffs,                        Civil No. 4:23-cv-00114-RH-MAF

        v.
                                           [PROPOSED] ORDER GRANTING
                                           PLAINTIFFS’ MOTION FOR
                                           PRELIMINARY INJUNCTION
 JOSEPH A. LADAPO et al.,

        Defendants.



             [PROPOSED] PRELIMINARY INJUNCTION ORDER

        Plaintiffs Kai Pope, Lucien Hamel, Olivia Noel and Rebecca Cruz Evia

 (collectively, “Adult Plaintiffs”) have moved this Court for a preliminary injunction

 pursuant to Rule 65(a)(1) of the Federal Rules of Civil Procedure, seeking to block

 enforcement of the targeted restrictions on medical care for adult transgender people

 in Florida Senate Bill 254, an “act relating to treatments for sex reassignment . . .”

 (“SB 254”), which has become law and went into effect on May 17, 2023.

       SB 254 imposes arbitrary, harmful, and medically unjustified requirements on the

provision of transition-related care for transgender people, including requiring physicians to

be physically present in the same room with a transgender patient when obtaining consent,

requiring providers to provide transgender patients with a mandatory consent form that

includes false and misleading information, requiring providers to deny care to transgender
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patients unless they undergo extremely burdensome and unnecessary mental health

evaluations and counseling, and providing that only a licensed physician (i.e., a licensed

medical doctor (an “MD”) or licensed doctor of osteopathic medicine (a “DO”) can provide

transition-related medical care. Any healthcare practitioner who violates the mandates

may be subject to a disciplinary action by the Florida Boards of Medicine and

Osteopathic Medicine and prosecuted for a misdemeanor in the first degree. See SB

254, § 5 (2023) (Second Engrossed).

       The Court, having considered the pleadings, legal authority, and argument

presented in support of Plaintiffs’ Motion, as well as all declarations and other

evidence submitted in support of Plaintiffs’ prior Motion for a preliminary

injunction, has found and concluded for the specific reasons required under Federal

Rule of Civil Procedure 65 that Plaintiffs have demonstrated: (1) a likelihood of

success on the merits, (2) irreparable harm in the absence of preliminary relief, (3)

the equities weigh in favor of the Plaintiffs, and (4) that granting preliminary relief

is in the public interest.

       Plaintiffs have established a likelihood of success on the merits of their claim

that SB 254 violates Plaintiffs’ right to equal protection under the Fourteenth

Amendment of the United States Constitution by singling out transgender patients

because of their sex and transgender status to prevent them from obtaining medically

necessary care and criminalizing the provision of established and necessary medical

care to transgender adults.

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       Plaintiffs have demonstrated that, absent a preliminary order preventing SB

254 from taking effect, they will be denied medical care and suffer irreparable

constitutional, physical, emotional, psychological, and other harms for which there

is no adequate remedy at law. The provisions of SB 254, if permitted to go into

effect, will prevent Plaintiffs from obtaining the essential medical care they need.

The balance of hardships between the injuries Plaintiffs will suffer and Defendants’

interests weigh in favor of granting Plaintiffs’ motion to preserve the status quo, and

a preliminary injunction is in the public interest.

       The Court finds that Plaintiffs are not required to provide security pursuant to

Fed. R. Civ. P. 65(c).

       IT IS THEREFORE ORDERED that Defendants, as well as their agents,

employees, servants, attorneys, successors, and any person in active concert or

participation with them, are PRELIMINARILY ENJOINED from enforcing,

threatening to enforce, or otherwise requiring compliance with Florida Senate Bill

254.

       IT IS FURTHER ORDERED that the security requirement of Fed. R. Civ. P.

65(c) is waived and that this injunctive relief is effective upon service and shall

remain in effect pending trial in this action or further order of this Court.


       Done this         day of                 , 2023.




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